                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


United States of America,                            Case No. 21-cr-173 (WMW/DTS)

      Plaintiff,

v.                                                   BRIEFING ORDER

Anton Joseph Lazzaro (1),

      Defendant.


      On October 28, 2021, Defendant Lazzaro moved to Vacate Restraints on Certain

Seized Property [Dkt. No. 74].

      IT IS HEREBY ORDERED:

      1.      Government’s responsive brief is due November 23, 2021.

      2.      Defendant’s reply brief is due December 3, 2021.

      3.      A    motion    hearing   will   take    place   before   the   undersigned   on

December 15, 2021 at 1:00 pm in Courtroom 9E, Diana E. Murphy Courthouse, 300

South Fourth Street, Minneapolis.




Dated: November 2, 2021                              _s/David T. Schultz_______
                                                     DAVID T. SCHULTZ
                                                     U.S. Magistrate Judge
